
PER CURIAM.
Affirmed. “Whether [an] employee left [his or] her job voluntarily and without good cause is a question of fact within the province of the unemployment appeals referee.” Grossman v. Jewish Cvity. Ctr. of Greater Fort Lauderdale, Inc., 704 So.2d 714, 716 (Fla. 4th DCA 1998). See also Augustin v. State Unemployment Appeals Comm’n, 906 So.2d 1238, 1239 (Fla. 4th DCA 2005) (appellate court must sustain referee’s findings based upon credibility determinations supported by competent substantial evidence).
WARNER, DAMOORGIAN and CONNER, JJ., concur.
